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                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN



JOHN MILLER,

                Plaintiff,                           Civil Action No. _____________

vs.

ASSET ACCEPTANCE, LLC;
and DOE 1-5

         Defendants.



                                          COMPLAINT

                                     (Jury Trial Demanded)

         1.    Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”).



                                JURISDICTION AND VENUE

         2.    This Court exercises jurisdiction under 15 U.S.C. 1692k and 28 U.S.C. 1331.

This District is of proper venue as Defendants are residents within this District and Defendants

engaged in the activities alleged herein while so residing.




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                                            PARTIES

       3.      Plaintiff, JOHN MILLER, is a natural person residing in Groveport, Ohio.

Defendant, ASSET ACCEPTANCE, LLC, (hereinafter “Defendant”) is a limited liability

company believed to maintain its principle place of business at 28405 Van Dyke Ave. in Warren,

Michigan. Plaintiff is ignorant of the true names and capacities of the defendants sued herein as

DOE 1-5, and therefore sues these defendants by such fictitious names. Plaintiff will amend this

Complaint to allege the true names and capacities once ascertained. Plaintiff believes and

thereon alleges that the fictitiously named defendants are responsible in some manner for the

occurrences herein alleged, and that such defendants are responsible to Plaintiff for damages

and/or monies owed. Defendants ASSET ACCEPTANCE, LLC and DOE 1-5 shall be jointly

referred to herein as “Defendants”.

       4.      Defendant regularly operates as a third-party debt collector and is a “debt

collector” as defined in 15 U.S.C. 1692a.



                                 FACTUAL ALLEGATIONS

       5.      In August of 2011 Defendants began contacting Mr. Miller at his home telephone

in an attempt to collect a consumer debt allegedly owed by Mr. Miller.

       6.      Defendants continued to call Mr. Miller up to 4 times per day through January 8,

2012. Defendants called Mr. Miller 42-times between November 7 and December 8, 2011 alone.

Defendants’ incessant calls caused distress to Mr. Miller and his family. Mr. Miller came to

dread the sound of his own home telephone ringing as Defendants called in the morning,

afternoon, and even evenings.


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       7.      Increasingly harassed by Defendants’ phone calls, Mr. Miller obtained counsel

with Centennial Law Offices.



                                     CAUSES OF ACTION

                                            COUNT I

       8.      Plaintiff re-alleges paragraphs 1 through 7, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants violated 15 U.S.C. 1692d by engaging in conduct the natural

consequence of which was to harass Plaintiff.

       9.      Plaintiff re-alleges paragraphs 1 through 7, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants violated 15 U.S.C. 1692d(5) by causing Plaintiff’s telephone to

ring repeatedly or continuously with intent to annoy, abuse, or harass Plaintiff.



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays judgment against Defendant for recovery, each count in

the alternative, as follows:

       1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. 1692k(2);

       2.) For actual damages of $2,055.00 for legal costs in responding to unlawful collection

       activity.

       3.) For prejudgment interest in an amount to be proved at time of trial;

       4.) For attorney’s fees pursuant to 15 U.S.C. 1692(k)


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      5.) For the costs of this lawsuit; and

      6.) For any other and further relief that the court considers proper.



                                        JURY DEMAND

      Plaintiff demands a jury trial.



Date: December 7, 2012

                                                     s/Robert Amador_______

                                                     ROBERT AMADOR, ESQ.
                                                     Attorney for Plaintiff JOHN MILLER
                                                     9452 Telephone Rd. 156
                                                     Ventura, CA. 93004
                                                     (888)308-1119 ext. 11
                                                     (888)535-8267 fax
                                                     R.Amador@centenniallawoffices.com




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